             Case 2:15-cv-00079-LGW-BWC Document 220 Filed 11/05/18 Page 1 of 3
RK
OURT
ORGIA       FU E©     --r                                      neopost'     FIRST-CLASS MAIL




        ERU'iSV/\CK                                            US POSTAGE l$000.472
     T;\i'W-5 W®                                                              ZIP 31520
                                                                            041L11254093



     i^,^?5sroF


                              -R'T-S-     200444320-lN
                                          RETURN TO SENDER
                                                               X0/27/I8
                                                                                  I
                                        INSUFFICIENT ADDRESS
                                          UNABLE TO FORW.ARD
T922S1-2
                                          RETURN TO SENDER
             Case 2:15-cv-00079-LGW-BWC Document 220 Filed 11/05/18 Page 2 of 3

2;15-cv-79




         Stephen Samuels
         U.S. Dept. of Justice
         Environment & Natural Resources Division
         Ben Franklin Station
         601 D Street NW
         P.O. 80x7611
         Washington , DC 20044-7611




       ***** YOU COULD HAVE RECEIVED THIS DOCUMENT BY EMAIL*****
       Register now and get all your pleadings and orders delivered to your desktop
              Case 2:15-cv-00079-LGW-BWC Document 220 Filed 11/05/18 Page 3 of 3
                Case 2:15-cv-00079-LGW-BWC Document 205 Filed 09/04/18 Page 1 of 1




                           3it tfie tUniteb States:BtMet Court
                           tor tfie ^out^em Biotrict ot 4leorsta
                                         Pmnotaiictt IBiiiioion
               STATE OF GEORGIA, et al.,

                Plaintiffs,
                                                                   CV 215-79
                                    V.



               ANDREW WHEELER, et al..

                Defendants.


                                                      ORDER


                    This      matter     comes     before   the    Court   on   the   Motion   of

               Plaintiff      the   State    of    Georgia    to    withdraw    Attorney    Sarah

               Hawkins Warren as its counsel of record.                Dkt. No. 196.       Andrew

               A. Pinson      will continue to serve          as counsel for the State of

               Georgia   in    this      matter.      The    Court,   having    considered     the

               Motion, hereby GRANTS it.             The Clerk is DIRECTED to remove Ms.

               Warren as counsel from the docket.



                    SO ORDERED, this               day of Septe




                                                             HON. L/SA GODBEY WOOD, JUDGE
                                                             UnXj^/ STATES DISTRICT COURT
                                                             SOUTHERN DISTRICT OF GEORGIA




A072A
(Rev. 8/82)
